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                     EXHIBIT S
Case 5:15-cv-11745-JEL-APP ECF No. 56-20, PageID.1121 Filed 07/07/16 Page 2 of 25



    · · · · ·UNITED STATES DISTRICT COURT
    · · · · ·EASTERN DISTRICT OF MICHIGAN


    ZIEBART INTERNATIONAL CORPORATION,

    a Michigan corporation,

    · · · · · · · Plaintiff/Counterclaim Defendant,

    -vs-· · · · · Case No. 2:15-cv-11745-JEL-APP

    · · · · · · · Hon. Judith E. Levy

    Z TECHNOLOGIES CORPORATION,

    a Michigan corporation,

    · · · · · · · Defendant/Counterclaim Plaintiff,

    and

    PURE ASPHALT COMPANY,

    · · · · · · · Counterclaim Defendant.

    ____________________________________________/

    DEPONENT:· · ·Patricia Lipsky

    DATE:· · · · ·Wednesday, May 25, 2016

    TIME:· · · · ·1:00 p.m.

    LOCATION:· · ·1000 Town Center

    · · · · · · · 22nd Floor

    · · · · · · · Southfield, Michigan

    REPORTER:· · ·Quentina Rochelle Snowden,

    · · · · · · · Certified Shorthand Reporter-5519

    · · · · · · · and Notary Public

    JOB NO:· · · ·2807
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·1· · · · · · UNITED STATES DISTRICT COURT
· · · · · · · EASTERN DISTRICT OF MICHIGAN
·2

·3· ·ZIEBART INTERNATIONAL CORPORATION,

·4· ·a Michigan corporation,

·5· · · · · · · · ·Plaintiff/Counterclaim Defendant,

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13· · · · · · · · ·Counterclaim Defendant.

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24· ·JOB NO:· · · ·2807

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ZIEBART INTERNATIONAL -vs- Z TECHNOLOGIES                                                                            Job 2807
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                                                       Page 2                                                           Page 3
·1· ·APPEARANCES:                                               ·1· ·APPEARANCES CONTINUED:
·2· ·BROOKS KUSHMAN, PC                                         ·2· ·LEWIS, BRISOIS, BISGAARD & SMITH, LLP
·3· ·By:· Mr. Robert Bradenburg                                 ·3· ·By:· Mr. Darrick J. Hooker
·4· ·1000 Town Center                                           ·4· ·550 West Adams Street
·5· ·22nd Floor                                                 ·5· ·Suite 300
·6· ·Southfield, Michigan 48075                                 ·6· ·Chicago, Illinois 60661
·7· ·248-358-4400                                               ·7· ·312-463-3408
·8· ·Rbrandenburg@brookskushman.com                             ·8· ·Darrick.hooker@lewisbrisbois.com
·9· · · · · · ·Appearing on behalf of the Plaintiff/            ·9· · · · Appearing on behalf of the Counterclaim
10· · · · · · ·Counterclaim Defendant.                          10· · · · Defendant, Pure Asphalt Company
11                                                              11
12· ·JABE LAW FIRM, LLC                                         12
13· ·By:· Mr. Daniel N. Jabe                                    13
14· ·470 Olde Worthington Road                                  14
15· ·Suite 200                                                  15
16· ·Westerville, Ohio 43082                                    16
17· ·614-354-4133                                               17
18· ·Djabe@jabelawfirm.com                                      18
19· · · · Appearing on behalf of the Defendant/                 19
20· · · · Counterclaim Plaintiff.                               20
21                                                              21
22                                                              22
23                                                              23
24                                                              24
25                                                              25

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·1· · · · · · · · ·INDEX PAGE                                   ·1· · · ·Wednesday, May 25, 2016
·2· ·WITNESS:· · · · · · · · · · · · · · · · ·PAGE              ·2· · · ·Southfield, Michigan
·3· ·Patricia Lipsky                                            ·3· · · ·1:00 p.m.
·4· ·Examination by Mr. Jabe· · · · · · · · · 05                ·4· · · · · · · · · · ·PATRICIA LIPSKY,
·5· ·(No further examination.)                                  ·5· · · ·was thereupon called as a witness herein, and
·6                                                              ·6· · · ·after having first been duly sworn to testify to
·7· · · · · · · · · ·EXHIBITS                                   ·7· · · ·the truth, the whole truth and nothing but the
·8· ·EXHIBIT· · · ·DESCRIPTION· · · · · · · · MARKED            ·8· · · ·truth was examined and testified as follows:
·9· ·EXHIBIT 13· · CORRESPONDENCE DATED· · · ·34                ·9· · · · · · · · · · · ·EXAMINATION
10· · · · · · · · ·5-19-11                                      10· BY MR. JABE:
11· ·EXHIBIT 14· · CORRESPONDENCE DATED· · · ·42                11· Q· ·Please state your name for the record.
12· · · · · · · · ·7-7-11                                       12· A· ·Patricia Lipsky.
13· ·EXHIBIT 15· · SETTLEMENT AGREEMENT· · · ·43                13· Q· ·And how do you spell your last name?
14                                                              14· A· ·L-I-P-S-K-Y.
15· · · · · · · · · (Exhibits attached.)                        15· Q· ·Have you had your deposition taken before?
16                                                              16· A· ·No.
17                                                              17· Q· ·So, the Court Reporter here is going to be recording
18                                                              18· · · everything that you say and it's important, as a
19                                                              19· · · result of that, to speak clearly, and to give verbal
20                                                              20· · · answers to the questions, because she can't pick up
21                                                              21· · · on, or record, a nod or something like that.
22                                                              22· · · · · · · · · ·Do you understand?
23                                                              23· A· ·Yes.
24                                                              24· Q· ·If you have any questions about -- or let me say
25                                                              25· · · this:· If any of my questions are unclear, please


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                                                      Page 6                                                         Page 7
·1· · · don't hesitate to tell me that and ask me to           ·1· A· ·No.
·2· · · rephrase.· I'm happy to do that if you don't           ·2· Q· ·What does your current position at Ziebart entail?
·3· · · understand a question I'm asking.                      ·3· A· ·Any legal matter comes to me, and I work with our
·4· · · · · · · · · ·Is that okay?                             ·4· · · outside attorneys.· I handle franchise issues,
·5· A· ·Okay.                                                  ·5· · · registering our franchise disclosure document with
·6· Q· ·Do you hold any academic degrees?                      ·6· · · the various registration states.· And I work with --
·7· A· ·I have my paralegal certificate, and legal -- it's     ·7· · · if somebody wants to file a trademark, I work with
·8· · · actually called a legal assistant certificate and      ·8· · · our outside attorneys to file a trademark.
·9· · · legal assistant specialist in litigation.              ·9· Q· ·You said at the beginning of your answer that a
10· Q· ·And where did you obtain that?                         10· · · legal matter comes to you.· How does that happen?
11· A· ·Oakland University.                                    11· · · Or what did you mean by that?
12· Q· ·And when?                                              12· A· ·Any kind of issue that anybody in the building
13· A· ·1998.                                                  13· · · doesn't understand, that they think I can help them
14· Q· ·Can you tell me the positions that you've held at      14· · · with, be it trademark, copyright, litigation, any --
15· · · Ziebart and the approximate dates that you've held     15· · · anything that would fall under the legal purview, I
16· · · those positions?                                       16· · · guess I would say.
17· A· ·License and trademark manager is my title, and I've    17· Q· ·Have you taken any courses relating to trademark
18· · · held that same title and position since 2007.          18· · · issues?
19· Q· ·Is that the only position you've held at Ziebart?      19· A· ·I've taken one course at the Trademark Office. I
20· A· ·Yes.                                                   20· · · went for -- I guess you would call it a seminar.· It
21· Q· ·Where did you work before you came to Ziebart?         21· · · was just an overview of trademark law.
22· A· ·Wolpoff and Abramson Law Offices, and before that,     22· Q· ·Do you have a department within Ziebart that you
23· · · Federated Capital Corporation.                         23· · · work as part of?
24· Q· ·Did you do trademark-related work at either of those   24· A· ·I'm just the -- I'm the only person who -- in the
25· · · places?                                                25· · · Legal Department.· I'm it.
                                                      Page 8                                                         Page 9
·1· Q· ·Does Ziebart take steps to protects its trademarks?    ·1· · · using our trademark."
·2· A· ·Yes.                                                   ·2· Q· ·Once someone identifies a possible trademark
·3· Q· ·What does Ziebart do?                                  ·3· · · infringement, what do you do next?
·4· A· ·We work with our attorneys who monitor if there's      ·4· A· ·I call our attorneys.
·5· · · a -- if there's any kind of -- if they -- they -- if   ·5· Q· ·Does Ziebart itself conduct any inquiries as a
·6· · · they see anything.· I don't know.· They have like a    ·6· · · result of that information that may have been
·7· · · watch service that watches trademarks, you know, if    ·7· · · received by the possible trademark usage?
·8· · · somebody files a trademark, they let me know.· And     ·8· A· ·Inquiries to?
·9· · · they watch it.                                         ·9· Q· ·For example, does Ziebart make phone calls itself to
10· Q· ·Does Ziebart conduct any investigations to determine   10· · · determine whether somebody is in fact using a
11· · · if someone is using its trademarks?                    11· · · trademark, or visit a location to make that
12· A· ·I'm not sure what you mean by "investigation."· You    12· · · determination?
13· · · mean --                                                13· A· ·Yes.
14· Q· ·Do you do any monitoring of the use of names by        14· Q· ·And who would do that?
15· · · other companies other than the monitoring you          15· A· ·Usually me.· Someone will bring that to my
16· · · mentioned that counsel does?                           16· · · attention.
17· A· ·People -- if somebody sees something -- people --      17· Q· ·And you might make a phone call to the potential
18· · · you know everyone in the building is aware we have a   18· · · infringer --
19· · · name and we have trademarks and if anyone sees         19· A· ·Yes.
20· · · anything they bring it to my attention or Tom          20· Q· ·-- to make a determination?
21· · · Wolfe's attention.                                     21· A· ·Yes.
22· · · · · · · · · ·So I guess we're all kind monitoring      22· Q· ·To visit the potential infringer's location to see
23· · · it in that way, we're very aware and if somebody       23· · · what they're doing?
24· · · doesn't know if we have a trademark, they'll come to   24· A· ·I don't visit if we see something.· Sometimes I'll
25· · · me and say "Do we have a trademark?· Somebody is       25· · · call -- sometimes all you have to do is call and


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·1· · · I'll call the person infringing and say "Do you know   ·1· · · answer.
·2· · · that you're using our mark?"· And they'll say, "No,    ·2· · · · · · · · · ·Do you understand the distinction?
·3· · · we weren't aware of it."· I'll say, "Well, you are.    ·3· · · · · · · · · ·THE WITNESS:· I believe so.
·4· · · Can you remove it?"· They say "Yes."· And that's the   ·4· BY MR. JABE:
·5· · · end of it.· Or I'll send a letter.                     ·5· Q· ·Let me try to ask the question differently.
·6· Q· ·Do you ever make calls without revealing your          ·6· A· ·Okay.
·7· · · identity?                                              ·7· Q· ·Setting aside any advice you might receive from the
·8· A· ·No.                                                    ·8· · · attorneys that you're engaging, what types of
·9· Q· ·Do you ever have anyone else make those inquiries,     ·9· · · considerations do you have in mind when you're
10· · · counsel or third parties?                              10· · · making a decision about whether to send a cease and
11· A· ·Yes.                                                   11· · · desist letter?
12· Q· ·Would it include both counsel and third parties?       12· A· ·I always have cost in my mind, and for a period of
13· A· ·Just counsel.                                          13· · · time I decided I would be the person to send them
14· Q· ·Do you always send a cease and desist letter if you    14· · · and I found that it was very ineffective and that --
15· · · believe someone is infringing one of Ziebart's         15· · · so I -- if a cease and desist letter is going to be
16· · · trademarks?                                            16· · · sent, I'm almost always consulting an attorney.· If
17· A· ·No.                                                    17· · · it's something like if somebody sees something on
18· Q· ·Why would you send one sometimes and not others?       18· · · the Internet and they say, "You know, our picture is
19· · · · · · · · · ·MR. BRADENBURG:· Hold on.· If you can     19· · · on the Internet", you know, "Can you do something
20· · · answer that without referring to any communications    20· · · about it?"· Then I make a judgment call if it's
21· · · you have with your attorneys, you may answer that.     21· · · something that I think I can easily handle and just
22· · · In other words, if your attorneys tell you to do it    22· · · make a phone call to the person and say "Do you know
23· · · or not to do it, that's not something he can           23· · · you have our name on the Internet or our picture on
24· · · discover.· But if you make the decision yourself, or   24· · · the Internet?"· And a lot of times it's very
25· · · in consultation with non-attorneys, then you can       25· · · innocent, they don't know they do.· They'll be

                                                     Page 12                                                        Page 13
·1· · · cooperative and say "Yes."· Then I'll make a           ·1· Q· ·You testified earlier that Ziebart will sometimes
·2· · · judgment call if I think I can do it myself, I'll do   ·2· · · identify trademark infringement but not send a cease
·3· · · it.· But for cease and desist letters now I almost     ·3· · · and desist letter; is that correct?
·4· · · always send it or I do always send it to an            ·4· A· ·I don't know if -- I don't know if -- I don't know
·5· · · attorney.                                              ·5· · · if you call it trademark infringement.· We have seen
·6· Q· ·Do you ever identify infringements and determine       ·6· · · pictures that we have shot videos of that somehow
·7· · · that it's not worth sending a cease and desist         ·7· · · get on the Internet, I don't know that they're
·8· · · letter?                                                ·8· · · necessarily trademark infringement.
·9· A· ·Yes.                                                   ·9· Q· ·Would it be fair to say you've seen things that you
10· Q· ·Since you began working at Ziebart, how many cease     10· · · would identify as possibly trademark infringement?
11· · · and desist letters has Ziebart or its counsel sent     11· A· ·Yes.
12· · · claiming trademark infringement?                       12· Q· ·And then decide not to send cease and desist
13· A· ·I don't know.                                          13· · · letters?
14· Q· ·Can you provide a rough estimate?                      14· A· ·Yes.
15· A· ·I don't know.· I'm sorry.· I -- I -- a lot.· I don't   15· Q· ·Are there circumstances where you send cease and
16· · · know.· I mean, I couldn't say for sure.                16· · · desist letters and the person that you send it to
17· Q· ·Would it be more than 50 since 2007?                   17· · · complies with your requests?
18· A· ·I wouldn't say more than 50.                           18· A· ·Yes.
19· Q· ·About 50?                                              19· Q· ·Are there also circumstances where they do not?
20· A· ·No.· Maybe 30.                                         20· A· ·Yes.
21· Q· ·In the past year, can you tell me roughly how many     21· Q· ·When they do not, do you always file a lawsuit?
22· · · cease and desist letters have you sent claiming        22· A· ·No.
23· · · trademark infringement or its counsel has sent on      23· Q· ·Other than the advice of counsel, what would be some
24· · · Ziebart's behalf?                                      24· · · considerations that Ziebart would have in deciding
25· A· ·Maybe four.                                            25· · · whether to file a lawsuit under those circumstances?


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·1· A· ·Could you repeat the question again?                   ·1· Q· ·How many lawsuits in the last year?
·2· Q· ·Other than advice from counsel --                      ·2· A· ·Two or three.
·3· · · · · · · · · ·MR. JABE:· Actually could you read        ·3· Q· ·But you think it might only be five since 2007?
·4· · · that back.                                             ·4· A· ·Did you say lawsuits that we filed or that we were
·5· · · · · · · · · ·(The indicated portion of the record      ·5· · · involved in or --
·6· · · was read back as follows:                              ·6· Q· ·That you filed.· That Ziebart filed.
·7· · · · · · · · · ·"Q· · Other than the advice of counsel,   ·7· A· ·I don't know an exact amount because not all of them
·8· · · what would be some considerations that Ziebart would   ·8· · · come directly from us.· Some of them go to -- some
·9· · · have in deciding whether to file a lawsuit under       ·9· · · of them go to our Collection Department who in turn
10· · · those circumstances?")                                 10· · · they -- the collection agency hires attorneys to sue
11· BY MR. JABE:                                               11· · · on our behalf, so I don't -- I don't know that I --
12· Q· ·The circumstances were when the person who received    12· · · I would know everybody.
13· · · the cease and desist letters did not comply, why       13· Q· ·I'm only talking about trademark infringement suits,
14· · · would you decide not to file a lawsuit against         14· · · not collection suits.
15· · · someone like that, other than --                       15· · · · · · · · · ·MR. BRADENBURG:· I object to your
16· A· ·I don't know that I can say.· It's not my decision.    16· · · question.· It's assuming there's a difference
17· Q· ·Whose decision is that?                                17· · · between trademark infringement and --
18· A· ·It would be probably between Tom Wolfe and our         18· · · · · · · · · ·MR. JABE:· I do assume there is a
19· · · attorney.                                              19· · · difference.· If there isn't one --
20· Q· ·Since you began working at Ziebart, how many           20· BY MR. JABE:
21· · · lawsuits has Ziebart filed claiming trademark          21· Q· ·What is a collection suit that Ziebart might
22· · · infringement?                                          22· · · initiate?
23· A· ·I don't know.                                          23· A· ·If someone has outstanding royalties, if they're
24· Q· ·Can you give a rough estimate?                         24· · · terminated or if they voluntarily discontinue being
25· A· ·Maybe five.                                            25· · · a Ziebart franchisee, and they owe us money, usually

                                                     Page 16                                                        Page 17
·1· · · a lot of times it's both trademark and collection.     ·1· A· ·Because there are other Z Techs --
·2· · · They'll owe us money and they'll still have their      ·2· Q· ·My client, Z Technologies.
·3· · · Ziebart sign still on.· So a lot of times -- a lot     ·3· · · · · · · · · ·MR. BRADENBURG:· All of this is to the
·4· · · of times it will be both.                              ·4· · · extent it involves communications with attorneys, he
·5· · · · · · · · · ·So, I mean, I don't know that I know      ·5· · · is not entitled to know what those discussions are,
·6· · · an exact amount, but I -- since I've been there, at    ·6· · · what you did as a result of instructions from your
·7· · · least 5, maybe more.                                   ·7· · · attorneys.
·8· · · · · · · · · ·MR. JABE:· Okay.· Can we go off the       ·8· · · · · · · · · ·But to the extent you did it
·9· · · record for a minute.                                   ·9· · · independent of the attorneys, you can answer those
10· · · · · · · · · ·(Off the record at 1:21 p.m.)             10· · · questions.
11· · · · · · · · · ·(Back on the record at 1:21 p.m.)         11· · · · · · · · · ·Do you understand the distinction
12· BY MR. JABE:                                               12· · · there?
13· Q· ·What investigations has Ziebart done since you began   13· · · · · · · · · ·THE WITNESS:· Yes.
14· · · working, to determine if Z Tech is using its           14· · · · · · · · · ·MR. JABE:· Are you instructing her not
15· · · trademarks?                                            15· · · to answer and disclose any investigations that
16· · · · · · · · · ·Let me first ask you, are you familiar    16· · · involved attorneys?
17· · · with Z Technologies Corporation?                       17· · · · · · · · · ·MR. BRADENBURG:· If she undertook any
18· A· ·Yes.                                                   18· · · investigation at the direction of an attorney,
19· Q· ·And that's my client, you understand?                  19· · · that's work product and is not discoverable, at
20· A· ·Yes.                                                   20· · · least not the details of it.· If you ask "Have you
21· Q· ·So the question is:· What investigation has Ziebart    21· · · done investigations", but now you're asking what
22· · · done since you began working there to determine if Z   22· · · type of investigations, which is your next step.
23· · · Tech is using its trademarks?                          23· BY MR. JABE:
24· A· ·When you say "Z Tech" you mean Z Technologies?         24· Q· ·Have you done any investigations since you began
25· Q· ·Yes.                                                   25· · · working at Ziebart, to determine whether Z

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·1· · · Technologies is violating Ziebart's trademarks?        ·1· · · I don't recall how they spelled Z Shield, how they
·2· A· ·Yes.                                                   ·2· · · did it exactly, but it was different than ours.
·3· Q· ·When was the first time that you learned that Z Tech   ·3· Q· ·What did Ziebart do after learning this information?
·4· · · might be using one of Ziebart's trademarks?            ·4· A· ·I believe I sent a cease and desist letter. I
·5· · · · · · · · · ·MR. BRADENBURG:· Again, you can answer    ·5· · · believe that -- that I did.
·6· · · that -- well, this is -- you can answer when.          ·6· Q· ·Was this something that you determined yourself from
·7· · · · · · · · · ·THE WITNESS:· 2011.                       ·7· · · Google searches?
·8· BY MR. JABE:                                               ·8· A· ·No.
·9· Q· ·And what was the trademark at issue?                   ·9· Q· ·Did somebody else in the company determine that?
10· A· ·There were, as I recall, three, the Ziebart name, Z    10· A· ·Yes.
11· · · Guard and Z Shield.                                    11· Q· ·Who was that?
12· Q· ·Prior to 2011, did you have any information            12· A· ·I believe it was our former employee, Mike Pino.
13· · · suggesting that Z Tech was violating any of            13· Q· ·Former employee contacted Ziebart --
14· · · Ziebart's trademarks?                                  14· A· ·He was employed at the time.· He's a former employee
15· A· ·I didn't personally.· I don't know if anyone else      15· · · now.· At the time he was employed and I believe he
16· · · did.                                                   16· · · was the one who brought it to my attention.
17· Q· ·After learning the information you described about     17· Q· ·So he saw Ziebart's -- sorry, he saw Z Tech's
18· · · the three names -- and what were those names again?    18· · · website and brought to it your attention?
19· A· ·Ziebart, Z Guard and Z Shield.                         19· A· ·Yes.
20· Q· ·Can you spell those?                                   20· Q· ·What was Mike Pino's job responsibilities at the
21· A· ·The way they spelled it -- the way Z Technologies      21· · · time?
22· · · spelled it was Z, space, Guard.· I can't remember if   22· A· ·I believe he was senior vice president.
23· · · they -- if they -- I think they spelled it             23· Q· ·Was he senior vice president over any particular
24· · · G-U-A-R-D.· I know it was spelled differently than     24· · · subject matter?
25· · · ours, but we had a trademark called Z-GARD also and    25· A· ·No.· I believe he was senior vice president of the

                                                     Page 20                                                        Page 21
·1· · · corporation -- of Ziebart International.· But I        ·1· Q· ·Do you know the business in Indiana or what the
·2· · · think he primarily was selling franchise salesman.     ·2· · · circumstances were?
·3· Q· ·Okay.· Can you recall any other instances where you    ·3· A· ·I don't recall.
·4· · · learned that Z Tech might be using one of Ziebart's    ·4· Q· ·Was this a Ziebart customer?
·5· · · trademarks?                                            ·5· A· ·I don't know.
·6· A· ·Yes.                                                   ·6· Q· ·And to make sure that I understand, what's your
·7· Q· ·And what other instances can you recall?               ·7· · · understanding of what the use of the name Formula Q
·8· A· ·Formula Q.                                             ·8· · · was that you learned about at that time in 2014?
·9· Q· ·And when did you learn that?                           ·9· · · What was happening with the name that you learned?
10· A· ·2014.                                                  10· A· ·That they had the name on a -- there was a sticker
11· Q· ·And what did you learn about Z Tech's use of the       11· · · on a -- I can't remember if it was a barrel or if it
12· · · name Formula Q?                                        12· · · was some -- it was on something, there were two or
13· A· ·That there were some stickers with the name on it at   13· · · three of them at a -- at a place in Indiana.· That's
14· · · a facility in Indiana.                                 14· · · all I know.
15· Q· ·And did you discover that personally?                  15· Q· ·Had you ever heard about Z Tech using the name
16· A· ·No.                                                    16· · · "Formula Q" before then?
17· Q· ·Did someone else at Ziebart discover that?             17· A· ·I hadn't personally.
18· A· ·Yes.                                                   18· Q· ·You hadn't personally heard?
19· Q· ·And who was that?                                      19· A· ·I don't know if anybody else did, but I hadn't
20· A· ·I believe it was Thomas Wolfe Jr.· Someone had         20· · · myself.
21· · · brought it to his attention.                           21· Q· ·Sure.· Nobody said anything to you about it prior to
22· Q· ·Do you know who that was?                              22· · · them?
23· A· ·I believe it was somebody from Pure Asphalt.           23· A· ·Right.
24· Q· ·Do you know where in Indiana?                          24· Q· ·So you had no awareness that they were using the
25· A· ·No.                                                    25· · · name?


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·1· A· ·Right.                                                 ·1· Q· ·Outside of the context of this dispute, when you
·2· Q· ·Can you recall any other instances where you learned   ·2· · · were working at Ziebart, did you have any
·3· · · that Z Tech might be using one of Ziebart's            ·3· · · discussions with people about Z Tech using Ziebart's
·4· · · trademarks?                                            ·4· · · trademarks in the past, other than the instances we
·5· A· ·No.                                                    ·5· · · just discussed?
·6· Q· ·Did you ever have any discussions with anyone at       ·6· A· ·I -- I didn't -- I don't think so.· I -- I knew that
·7· · · Ziebart about Z Tech using any of Ziebart's            ·7· · · we had been in a dispute with some -- some Z Tech
·8· · · trademarks prior to the time you began working         ·8· · · people and that was -- they were dealers.· So if
·9· · · there?· And what I mean by that is, not before you     ·9· · · they did, that's who I thought they were talking
10· · · started working there did you have discussions, but    10· · · about.· I didn't know anything about Z Technologies
11· · · after you started working there, did you have any      11· · · itself.
12· · · discussions about the use of trademarks by Z Tech      12· Q· ·So you didn't know there had been a prior to lawsuit
13· · · before you had started?                                13· · · between Ziebart and Z Technologies?
14· · · · · · · · · ·MR. BRADENBURG:· Let me interject         14· A· ·They might have told me, but I didn't -- I didn't
15· · · here.· She is part of the litigation team, so          15· · · understand what -- that it was this company. I
16· · · obviously throughout the litigation that has been      16· · · thought it was the Z Tech dealers.· So they might
17· · · discussed.· And are you trying to confirm that         17· · · have mentioned it, but I didn't -- I didn't -- I
18· · · she -- you know, that that's been discussed            18· · · didn't know until 2011 who they were, who your
19· · · repeatedly during the litigation?                      19· · · client was.
20· · · · · · · · · ·MR. JABE:· No.                            20· Q· ·Did you know that at the time of the 2011 issues we
21· · · · · · · · · ·MR. BRADENBURG:· Okay.· So, can you       21· · · discussed, that Z Technologies was formed from a
22· · · limit it to some time frame before they talked to      22· · · part of Ziebart?
23· · · attorneys or -- I don't know how you want to phrase    23· A· ·No.· I might have been told that, but I didn't
24· · · it.                                                    24· · · understand it.· I didn't understand it.· I still
25· BY MR. JABE:                                               25· · · thought it was the Z Tech dealers.
                                                     Page 24                                                        Page 25
·1· Q· ·What about by the time you got to the 2014 issue       ·1· · · period, which I think is what she's leaning towards?
·2· · · with respect to Formula Q you just mentioned, did      ·2· BY MR. JABE:
·3· · · you have that understanding then?                      ·3· Q· ·Without revealing any attorney/client
·4· A· ·Yeah, then I understood it.                            ·4· · · communications, you eventually came to learn that Z
·5· Q· ·Did you know that they had acquired the product        ·5· · · Tech acquired the product formula --
·6· · · Formula Q from Ziebart?                                ·6· · · · · · · · · ·MR. BRADENBURG:· Objection.
·7· · · · · · · · · ·MR. BRADENBURG:· Objection.· Are you      ·7· BY MR. JABE:
·8· · · asking hearsay?· If she -- she wasn't around in 2019   ·8· Q· ·-- is that right?
·9· · · (sic) so are you asking for hearsay?· That's what      ·9· · · · · · · · · ·MR. BRADENBURG:· There's no testimony
10· · · I'm asking.· Because I'll object to hearsay.           10· · · to that effect.· Lacks personal knowledge.
11· · · · · · · · · ·MR. JABE:· This is a speaking             11· · · · · · · · · ·MR. JABE:· I'm sorry, Bob, every
12· · · objection, and I don't even fully understand it.       12· · · objection you're making is a speaking objection. I
13· BY MR. JABE:                                               13· · · don't mind cutting you some latitude with respect to
14· Q· ·But, my question is:· In 2014, when you learned that   14· · · that from time to time, but these are not
15· · · Z Tech was using the name "Formula Q", did you have    15· · · appropriate objections.· You can object to form, and
16· · · any understanding that Z Tech had purchased the        16· · · if I have a question about what that objection is,
17· · · formula for Formula Q from Ziebart's Products Group    17· · · I'll ask.
18· · · in the 1990s?                                          18· · · · · · · · · ·But I would appreciate it if you would
19· A· ·When it was initially brought to me, no.· As --        19· · · refrain from objecting and speaking at length about
20· · · · · · · · · ·MR. BRADENBURG:· Well, objection.· If     20· · · the issues and coaching the witness about the
21· · · you're going past the initial time, you have -- I      21· · · answers.
22· · · would object to the extent you're talking about any    22· · · · · · · · · ·I respect the privilege issues, and
23· · · attorney/client privileges.· Answer -- well, you can   23· · · I'm trying very hard to avoid them, and I have no
24· · · answer his question.                                   24· · · issues with the objections on that front.· But with
25· · · · · · · · · ·Do you want to ask after the initial      25· · · respect to the other issues, I would appreciate it

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·1· ·if you would keep them shorter.                           ·1· · · some other things in addition to privilege.· That's
·2· · · · · · · · MR. HOOKER:· He can object to the form       ·2· · · the part I'm talking about.· Let's just continue
·3· ·of the question like you said, but I don't think          ·3· · · and, you know, we -- I will continue to try to be
·4· ·that his speaking objections are coaching the             ·4· · · mindful of privilege issues, and you should feel
·5· ·witness.· I think that he's making sure the witness       ·5· · · free to object with respect to those, and help me
·6· ·is cautious or not invading or violating the              ·6· · · avoid asking questions that will reveal privilege
·7· ·attorney/client and work product privilege doctrine       ·7· · · information.
·8· ·to privilege --                                           ·8· · · · · · · · · ·MR. HOOKER:· I was just going to say,
·9· · · · · · · · MR. BRADENBURG:· Mr. Jabe, maybe it's        ·9· · · to the extent that no attorneys were involved, maybe
10· ·because I have knowledge you don't have, but I know       10· · · preface the questions like that.
11· ·that the attorneys were involved in this case almost      11· · · · · · · · · ·MR. JABE:· Sure.· Sure.
12· ·immediately.· And you can confirm that with her.          12· BY MR. JABE:
13· · · · · · · · So every time you're asking anything         13· Q· ·Let me ask you a question on a different topic.
14· ·beyond that initial moment, I'm getting very              14· · · · · · · · · ·Well, you became aware that Z Tech was
15· ·uncomfortable.                                            15· · · using the name Formula Q in 2014 because somebody
16· · · · · · · · MR. JABE:· I understand that.                16· · · reported to you that they saw drums with a label on
17· · · · · · · · MR. BRADENBURG:· So, you know, if you        17· · · it in Indiana?
18· ·want to confirm that the attorneys were involved          18· A· ·Yes.
19· ·almost immediately afterwards, then you'll have a         19· Q· ·Do you recall what month of the year that was?
20· ·better context for, you know, why I'm, as you say,        20· A· ·July.
21· ·uncomfortable, and, you know, on edge here.               21· Q· ·Did anyone inform Z Technologies about that at the
22· · · · · · · · MR. JABE:· I appreciate the privilege        22· · · time?
23· ·issues.· I really do.· I have no problem whatsoever       23· · · · · · · · · ·MR. BRADENBURG:· Again, to the extent
24· ·with that.· I thought that some of the objections         24· · · you can answer without referring to communications
25· ·were about other topics that you were talking about       25· · · with counsel, you may do so.
                                                     Page 28                                                        Page 29
·1· BY MR. JABE:                                               ·1· Q· ·Do you know when that happened?
·2· Q· ·Did you notify anyone at Z Tech about that at the      ·2· · · · · · · · · ·MR. BRADENBURG:· If you can answer
·3· · · time?                                                  ·3· · · that without communications with counsel, you may do
·4· A· ·No.                                                    ·4· · · so.· Otherwise I'd instruct you not to answer.
·5· Q· ·Did you instruct anyone to notify Z Tech about that?   ·5· · · · · · · · · ·THE WITNESS:· I can't answer without
·6· · · · · · · · · ·MR. BRADENBURG:· To the extent you can    ·6· · · talking about what I talked about with our attorney.
·7· · · answer that question without referring to              ·7· · · · · · · · · ·MR. JABE:· Can we go off the record
·8· · · communications with counsel, you may do so.            ·8· · · for a minute?
·9· · · · · · · · · ·THE WITNESS:· I don't think I can         ·9· · · · · · · · · ·(Off the record at 1:40 p.m.)
10· · · answer it without what I talked about with our         10· · · · · · · · · ·(Back on the record at 1:43 p.m.)
11· · · attorney.                                              11· BY MR. JABE:
12· BY MR. JABE:                                               12· Q· ·Why did Ziebart apply for trademark registration for
13· Q· ·Okay.· When did someone from Ziebart notify Z Tech     13· · · Formula Q in 2014?
14· · · that it was using the name Formula Q, allegedly in     14· · · · · · · · · ·MR. BRADENBURG:· I instruct the
15· · · violation of Ziebart's trademarks?                     15· · · witness, if she can answer that without reference to
16· · · · · · · · · ·MR. BRADENBURG:· If you can answer        16· · · attorney/client communication, you may answer.
17· · · that question without reference to communications      17· · · Otherwise, I'd instruct you not to answer.
18· · · with counsel, you may do so.· Otherwise I'm going to   18· · · · · · · · · ·THE WITNESS:· It was something our
19· · · instruct you not to answer.                            19· · · attorney --
20· · · · · · · · · ·THE WITNESS:· I can't answer that         20· · · · · · · · · ·MR. BRADENBURG:· If it's a
21· · · without talking about with the attorney.               21· · · communication with counsel, I'd instruct you not to
22· BY MR. JABE:                                               22· · · answer.
23· Q· ·You can't tell me when Ziebart told Z Tech that it     23· · · · · · · · · ·THE WITNESS:· Oh, I'm sorry.
24· · · was violating its trademarks?                          24· · · · · · · · · ·MR. BRADENBURG:· So I'm instructing
25· A· ·We didn't contact Z Tech.· Our attorneys did.          25· · · her not to answer.


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·1· BY MR. JABE:                                               ·1· ·who made the decision.
·2· Q· ·Do you know who made the decision to apply for         ·2· · · · · · · · MR. JABE:· Who made it?
·3· · · trademark registration at Ziebart?                     ·3· · · · · · · · MR. BRADENBURG:· And a decision was
·4· · · · · · · · · ·MR. BRADENBURG:· If that was part of a    ·4· ·made in conjunction with counsel, that involves
·5· · · communication with counsel in anticipation of          ·5· ·communications.· You can ask if she was involved in
·6· · · litigation, I would instruct the witness not to        ·6· ·the process, if she was involved in discussions with
·7· · · answer.· If it's done for another reason not           ·7· ·counsel regarding that subject matter.
·8· · · involving counsel, you may answer.                     ·8· · · · · · · · You know, and -- but you can't go into
·9· BY MR. JABE:                                               ·9· ·what the substance was.
10· Q· ·So the question is:· Who at Ziebart made the           10· · · · · · · · MR. JABE:· I'm not going into the
11· · · decision to seek trademark registration for Formula    11· ·substance.
12· · · Q?                                                     12· · · · · · · · MR. BRADENBURG:· Yes, you are.· You're
13· A· ·It was between our -- our attorney, both of us.· Our   13· ·saying who made a decision?· That's substantive.
14· · · attorney and us.                                       14· ·The decision is substantive.
15· Q· ·Would you be the person at Ziebart who was making      15· · · · · · · · MR. JABE:· The privilege doesn't
16· · · that decision?                                         16· ·protect that.· The question is:· Who made the
17· · · · · · · · · ·MR. BRADENBURG:· Objection.· She just     17· ·decision to seek trademark registration; was it Ms.
18· · · said it was involving counsel.                         18· ·Lipsky, was it Tom Wolfe, who did that?
19· · · · · · · · · ·MR. JABE:· I'm not asking about           19· · · · · · · · MR. HOOKER:· The issue is that's a
20· · · counsel.· I'm not asking about that part of it.· I'm   20· ·legal decision to seek --
21· · · asking who the Ziebart person is that is directing     21· · · · · · · · MR. JABE:· I'm not asking about the
22· · · counsel.                                               22· ·legal connection.· I'm just asking who within the
23· · · · · · · · · ·MR. BRADENBURG:· Are you saying who       23· ·company --
24· · · was involved in the decision?· You can find out        24· · · · · · · · MR. HOOKER:· The decision itself
25· · · names.· You can't find out substance.· You're asking   25· ·involves legal expertise.
                                                     Page 32                                                       Page 33
·1· · · · · · · · MR. JABE:· I'm not asking about it.          ·1· · · don't think it.· But I am very hesitant to let her
·2· ·I'm asking who --                                         ·2· · · testify on communications with counsel.
·3· · · · · · · · MR. BRADENBURG:· But she's already           ·3· · · · · · · · · ·MR. JABE:· Okay.
·4· ·told you it was a joint decision between counsel and      ·4· · · · · · · · · ·MR. BRADENBURG:· Now you've seen what
·5· ·her.· So you can't go into what decisions, what           ·5· · · was filed.· You can ask her things like "Did you
·6· ·occurred within that purview.                             ·6· · · sign the application?"· I don't know if she did or
·7· · · · · · · · MR. JABE:· Counsel provide advice.           ·7· · · not.· You know, factual-based, things like that.
·8· ·They don't make decisions.· Clients make decisions.       ·8· · · But -- you can ask if the application was filed.
·9· ·And I'm asking who at the client made the decision.       ·9· · · That's factual.· But you can't ask why or who
10· ·It's not a privileged communication.· I'm not             10· · · decided if it was, you know, work product-related.
11· ·asking --                                                 11· BY MR. JABE:
12· · · · · · · · MR. BRADENBURG:· You're assuming that        12· Q· ·Did anyone at Ziebart tell Z Tech that it was
13· ·attorneys don't make decisions.· I know in many           13· · · applying for trademark registration for Formula Q?
14· ·cases that client -- attorneys do make decisions.         14· A· ·A notice goes out from the Trademark Office, but
15· ·And in this case, she said attorneys were involved        15· · · ourselves, I don't believe we did.
16· ·in, you know, the decision-making process.· So I'm        16· Q· ·Did anybody write a letter?
17· ·trying not to get you into what discussions were          17· A· ·I don't think so, no.
18· ·had.                                                      18· Q· ·Are you aware of anybody making a phone call?
19· · · · · · · · MR. HOOKER:· Your answer assumes that        19· A· ·I don't know that.· I don't know if anyone did.
20· ·in-house counsel at a client did not make the             20· Q· ·But you didn't?
21· ·decision.· They're still part of the client.              21· A· ·I didn't.
22· ·They're still attorneys as well.                          22· Q· ·And you were not aware at the time that Z Tech had
23· · · · · · · · MR. JABE:· I still don't think that's        23· · · been using the name for 20 years?
24· ·privilege.                                                24· · · · · · · · · ·MR. BRADENBURG:· Objection. I
25· · · · · · · · MR. BRADENBURG:· I obviously know you        25· · · instruct the witness not to answer to the extent it


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·1· · · involves communications with counsel.· If you can      ·1· · · · · · · · · ·(Deposition Exhibit No. 13 was marked
·2· · · answer not based upon communications involving         ·2· · · for identification.)
·3· · · counsel, you may do so.                                ·3· · · · · · · · · ·MR. BRADENBURG:· This is 13?
·4· · · · · · · · · ·THE WITNESS:· Can you repeat the          ·4· · · · · · · · · ·THE COURT REPORTER:· Yes.
·5· · · question.                                              ·5· BY MR. JABE:
·6· · · · · · · · · ·MR. JABE:· Can you read it back.          ·6· Q· ·Thisdocument is Bates stamped ZIE 272 to ZIE 274.
·7· · · · · · · · · ·(The indicated portion of the record      ·7· · · And lawyers refer to Bates stamping as the serial
·8· · · was read back as follows:                              ·8· · · numbers at the bottom corners, pages.
·9· · · · · · · · · ·"Q· · And you were not aware at the       ·9· · · · · · · · · ·Did I read that correctly, 272 through
10· · · time that Z Tech had been using the name for 20        10· · · 274?
11· · · years?")                                               11· A· ·Yes.
12· · · · · · · · · ·MR. BRADENBURG:· Why don't you clarify    12· Q· ·This document has your signature on it, correct?
13· · · what time you're referring to "At the time."           13· A· ·Yes.
14· BY MR. JABE:                                               14· Q· ·And this is a letter you sent to Ellis Breskman of Z
15· Q· ·When the trademark registration application was        15· · · Tech on May 19th of 2011, correct?
16· · · filed in 2014, were you aware that Z Tech had been     16· A· ·Yes.
17· · · using the name for 20 years?                           17· Q· ·What caused you to write this letter?
18· · · · · · · · · ·MR. BRADENBURG:· I will instruct the      18· A· ·I believe this is when Mike Pino brought to my
19· · · witness not to answer to the extent it involves        19· · · attention that our names were being used on -- on
20· · · communications with counsel.· If you can answer        20· · · the website home page of Z Technologies.
21· · · without reference to communications with counsel,      21· Q· ·And you say that Z Tech is infringing Ziebart's
22· · · you may do so.                                         22· · · trademarks by using the names Z Shield and Z Guard,
23· · · · · · · · · ·THE WITNESS:· No.                         23· · · correct?
24· BY MR. JABE:                                               24· A· ·Correct.
25· Q· ·Let me show you an Exhibit.                            25· Q· ·And here, Z Shield is spelled Z, space, S-H-I-E-L-D?
                                                     Page 36                                                        Page 37
·1· A· ·Correct.                                               ·1· · · differently.
·2· Q· ·And it's spelled that way at this time by Z Tech and   ·2· Q· ·Before you sent the letter, did you make any
·3· · · Ziebart?                                               ·3· · · inquiries as to whether Z Tech had the right to use
·4· A· ·We have the dash.                                      ·4· · · those names?
·5· Q· ·You have a dash between the Z and the S?               ·5· A· ·I might have looked on the trademark -- the U.S.
·6· A· ·Right.                                                 ·6· · · Trademark Office website to see if they had a
·7· Q· ·And Z Tech is using the name Z Guard, capital Z,       ·7· · · registered trademark for them.
·8· · · capital G-U-A-R-D with a space between the Z and G,    ·8· Q· ·Did you ask anybody at Ziebart whether they knew if
·9· · · correct?                                               ·9· · · Z Tech had been using those names before?
10· A· ·Correct.                                               10· A· ·No.
11· Q· ·And Ziebart's version is capital Z-E-E-G-A-R-D,        11· Q· ·Do you have any awareness of whether they had been
12· · · right?                                                 12· · · using those names for many years prior to you
13· A· ·Correct.                                               13· · · signing the letter?
14· Q· ·And you say that Z Tech is infringing Ziebart's        14· A· ·No.
15· · · trademarks by using the name Z Shield and Z Guard,     15· Q· ·You also reference a 2009 opinion by the Trademark
16· · · right?                                                 16· · · Trial and Appeal Board on the letter, it's on the
17· A· ·Right.                                                 17· · · first page; is that right?
18· Q· ·And you say in your letter that Ziebart owns those     18· A· ·Yes.
19· · · names, correct?                                        19· Q· ·Why did you quote that opinion?
20· A· ·Right.· Yep.                                           20· A· ·I believe that decision had just -- maybe not. I
21· Q· ·What was the basis for the allegation that Z Tech      21· · · thought maybe it had just come down.· I think I was
22· · · was infringing the trademarks of Ziebart?              22· · · trying to show that -- that they were saying that
23· A· ·What was the basis?· It was they had                   23· · · the Z Shield name was ours, Z-Liner name was ours,
24· · · their -- they're the same name.· They're the same      24· · · that there was something unique about the fact that
25· · · sounding name.· They're just spelled slightly          25· · · -- that we used -- the way -- the way we spelled it;


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·1· · · and that they were close to violating that.            ·1· · · ever claimed that my client, Z Tech, cannot use the
·2· Q· ·And this opinion, as I understand this paragraph, is   ·2· · · name Z Tech?")
·3· · · essentially concluding that the name Z Tech used by    ·3· · · · · · · · · ·THE WITNESS:· No.
·4· · · another party, is violating Ziebart's trademark        ·4· BY MR. JABE:
·5· · · rights; is that understanding correct?                 ·5· Q· ·Did Ziebart tell the Trademark Trial and Appeal
·6· A· ·Yes.                                                   ·6· · · Board that my client Z Tech has been using that name
·7· Q· ·That's how you understood it?                          ·7· · · since 1996 without objection from Ziebart?
·8· A· ·Yes.                                                   ·8· · · · · · · · · ·MR. BRADENBURG:· What date was that?
·9· Q· ·And it appears from this portion quoted that Ziebart   ·9· · · · · · · · · ·MR. JABE:· 1996.
10· · · was taking a position in that dispute that the name    10· · · · · · · · · ·THE WITNESS:· I'm sorry, can you
11· · · Z Tech used by someone else violated Ziebart's         11· · · repeat the question?
12· · · trademarks; is that your understanding?                12· BY MR. JABE:
13· A· ·Yes.                                                   13· Q· ·Did Ziebart tell the Trademark Trial and Appeal
14· Q· ·To your knowledge, has Ziebart ever claimed that my    14· · · Board that my client, Z Tech, has been using the
15· · · client, Z Tech, cannot use the name Z Tech?            15· · · name Z Tech since 1996 without objection from
16· · · · · · · · · ·MR. JABE:· Objection to the extent it     16· · · Ziebart?
17· · · requires discussions with counsel.· If it doesn't      17· A· ·I don't know.
18· · · involve discussions with counsel, you may answer.      18· Q· ·Why would Ziebart have the right to control a third
19· · · · · · · · · ·THE WITNESS:· Can you say that one        19· · · party's use of my client's name?
20· · · more time.                                             20· · · · · · · · · ·MR. BRADENBURG:· Excuse me, can you
21· · · · · · · · · ·MR. JABE:· Can you read the question      21· · · repeat that?
22· · · back, please.                                          22· · · · · · · · · ·(The indicated portion of the record
23· · · · · · · · · ·(The indicated portion of the record      23· · · was read back as follows:
24· · · was read back as follows:                              24· · · · · · · · · ·"Q· · Why would Ziebart have the right
25· · · · · · · · · ·"Q· · To your knowledge, has Ziebart      25· · · to control a third party's use of my client's
                                                     Page 40                                                        Page 41
·1· · · name?")                                                ·1· ·I don't see what relevance this has to it.· And I'm
·2· · · · · · · · · ·MR. BRADENBURG:· Same objection.· If      ·2· ·inclined to ask a court to restrict the issues to
·3· · · it involves communications with counsel, you're not    ·3· ·this case, because I don't want legal admissions
·4· · · to answer.· If you can answer it otherwise, you may    ·4· ·being made by a non-attorney on behalf of Ziebart.
·5· · · do so.                                                 ·5· · · · · · · · But if -- I just don't understand
·6· · · · · · · · · ·THE WITNESS:· I'm sorry, can you          ·6· ·where we're going with this, is my bottom line.
·7· · · repeat that question one more time?                    ·7· · · · · · · · MR. JABE:· It's in the letter and I'm
·8· · · · · · · · · ·(The indicated portion of the record      ·8· ·trying to understand why, and --
·9· · · was read back as follows:                              ·9· · · · · · · · MR. BRADENBURG:· Yes, but that letter
10· · · · · · · · · ·"Q· · Why would Ziebart have the right    10· ·doesn't relate to this lawsuit.
11· · · to control a third party's use of my client's          11· · · · · · · · MR. JABE:· Well, sure it does.
12· · · name?")                                                12· · · · · · · · MR. BRADENBURG:· No, it doesn't.
13· · · · · · · · · ·MR. BRADENBURG:· I object.· You're        13· · · · · · · · MR. JABE:· Yes, it does.
14· · · asking for a legal conclusion.                         14· · · · · · · · MR. BRADENBURG:· Are you saying we're
15· · · · · · · · · ·MR. JABE:· I appreciate the objection.    15· ·preventing you from using Z Tech in this lawsuit?
16· · · · · · · · · ·THE WITNESS:· I don't know.               16· · · · · · · · MR. JABE:· This is a letter --
17· BY MR. JABE:                                               17· · · · · · · · MR. BRADENBURG:· Yes.
18· Q· ·Do you believe that my client is not allowed to use    18· · · · · · · · MR. JABE:· -- that leads up to the
19· · · the name Z Tech?                                       19· ·2012 settlement agreement which is an issue in the
20· · · · · · · · · ·MR. BRADENBURG:· Mr. Jabe, this is far    20· ·case.
21· · · afield from any issue here.· It has no relevance.      21· · · · · · · · MR. BRADENBURG:· Then ask about the
22· · · We've been going on about use by Z Tech, which is      22· ·letter.· Yes, but not as to whether we can sue you
23· · · not an issue in this litigation.· If there's some      23· ·on Z Tech, which is not an issue to this case, and
24· · · relationship -- but you're asking her for legal        24· ·is not a subject matter of this letter or any other
25· · · conclusions, and she's a non-attorney, and you know,   25· ·letter or document in this litigation.

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Patricia Libsky                                                                                              Pages 42..45
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·1· · · · · · · · · ·I mean, if you ask factual questions,     ·1· · · don't know.· I don't remember.
·2· · · she can try to answer.· But asking her legal           ·2· BY MR. JABE:
·3· · · opinions on something that's not relevant to this      ·3· Q· ·In the letter, you identify specific alleged
·4· · · litigation is very worrisome to me as an attorney.     ·4· · · trademark violations on Z Tech's website to which
·5· · · · · · · · · ·MR. JABE:· I have another Exhibit for     ·5· · · Ziebart is objecting; is that correct?
·6· · · you, that is 14.                                       ·6· A· ·Yes.
·7· · · · · · · · · ·(Deposition Exhibit No. 14 was marked     ·7· Q· ·The alleged trademark violations occur in several
·8· · · for identification.)                                   ·8· · · places on the website; is that right?
·9· BY MR. JABE:                                               ·9· A· ·Yes.
10· Q· ·So you've been handed Z Tech's Exhibit Number 14.      10· Q· ·And you quote those portions of the website,
11· · · This document is Bates stamped ZIE 994 to ZIE 997;     11· · · correct?
12· · · is that right?                                         12· A· ·Yes.
13· A· ·Yes.                                                   13· Q· ·And you were quoting those to show Z Tech where the
14· Q· ·And this document has your signature on it; is that    14· · · problems on the website were, right?
15· · · right?                                                 15· A· ·Right.
16· A· ·Yes.                                                   16· Q· ·Did you ever tell Z Tech about any other specific
17· Q· ·And this is a letter that you sent to Ellis Breskman   17· · · portions of Z Tech's website to which Ziebart
18· · · of Z Tech on July 7th, 2011; is that right?            18· · · objected?
19· A· ·Yes.                                                   19· A· ·Did I ever or at this --
20· Q· ·And what caused you to write this letter?              20· Q· ·Ever?
21· · · · · · · · · ·MR. BRADENBURG:· Let me interject here    21· A· ·No.
22· · · that if you can answer that without referring to       22· · · · · · · · · ·MR. JABE:· I'm handing you Z Tech's
23· · · advice from counsel, you may do so.· Otherwise, I      23· · · Exhibit 15.
24· · · will instruct you you're not to answer.                24· · · · · · · · · ·(Deposition Exhibit No. 15 was marked
25· · · · · · · · · ·THE WITNESS:· (Reviewing.)· I -- I        25· · · for identification.)
                                                     Page 44                                                        Page 45
·1· BY MR. JABE:                                               ·1· Q· ·And in the letter you didn't acknowledge that Z Tech
·2· Q· ·And this document is Bates stamped ZIE 280 to ZIE      ·2· · · had any right to the names; is that right?
·3· · · 282; is that right?                                    ·3· A· ·I didn't say that.· I just -- I said they were
·4· A· ·Yes.                                                   ·4· · · infringing on ours.· I didn't say they -- I
·5· Q· ·Have you seen this document before?                    ·5· · · guess -- I guess -- I don't know if that infers they
·6· A· ·Yes.                                                   ·6· · · didn't have a right.· I was just saying they were
·7· Q· ·And it's a 2012 settlement agreement between Ziebart   ·7· · · infringing on ours.
·8· · · and Z Tech, correct?                                   ·8· Q· ·Was your letter on May 19th, 2011 mistaken?
·9· A· ·Yes.                                                   ·9· · · · · · · · · ·MR. BRADENBURG:· Objection.· That's
10· Q· ·Okay.· And this relates to the dispute that was        10· · · getting into all kinds of legal questions.
11· · · subject of your letters of May 19th and July 7th,      11· · · · · · · · · ·You're -- the way you've done it is
12· · · right?                                                 12· · · there's a legal document that you know was
13· A· ·Yes.                                                   13· · · negotiated by counsel, and now you're using that to
14· Q· ·In the middle of the page, five paragraphs down, it    14· · · suggest -- go back in time.· You know, you're
15· · · says that Z Technologies is the owner of the mark Z    15· · · impacting all kinds of attorney communications that
16· · · Shield in certain context; is that correct?            16· · · occurred during that time period.· And I would
17· A· ·Correct.                                               17· · · instruct her not to answer.· There's just no way
18· Q· ·And then it says in the next paragraph, Z              18· · · that can be answered without impacting
19· · · Technologies is the owner of Z Guard, the mark Z       19· · · attorney/client communications.
20· · · Guard in certain context also; is that correct?        20· BY MR. JABE:
21· A· ·Correct.                                               21· Q· ·Section 5 of the settlement agreement on page ZIE
22· Q· ·Now, in your May 19th, 2011 letter, you said that      22· · · 281, states that Z Tech will remove the name
23· · · Ziebart owned those names and that Z Tech was          23· · · Ziebart, Z Guard and Z Shield from its website
24· · · infringing by using them; is that correct?             24· · · within 30 days; is that right?
25· A· ·Yes.                                                   25· A· ·Yes.


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Patricia Libsky                                                                                              Pages 46..49
                                                     Page 46                                                        Page 47
·1· Q· ·Now, in this lawsuit, Ziebart is claiming that Z       ·1· · · what happened at the time you wrote the letter.
·2· · · Tech has breached this agreement by using Ziebart's    ·2· BY MR. JABE:
·3· · · name in meta tags on Ziebart's website; is that        ·3· Q· ·Yeah, just stick to that.
·4· · · right?                                                 ·4· A· ·I didn't know what they were.
·5· A· ·Yes.                                                   ·5· Q· ·You didn't know that they were there?
·6· Q· ·Ziebart is claiming that Z Tech should have removed    ·6· A· ·Right.
·7· · · Ziebart's name from the meta tags on the website; is   ·7· Q· ·If Z Tech thought that the parts of the website it
·8· · · that right?                                            ·8· · · was supposed to change were the parts you mentioned
·9· A· ·Yes.                                                   ·9· · · specifically in your letters, wouldn't that be
10· Q· ·What is meta tag?                                      10· · · reasonable of Z Tech?
11· A· ·I don't know.· I didn't draft the lawsuit.· Our        11· · · · · · · · · ·MR. BRADENBURG:· Objection.· You're
12· · · attorneys drafted it.                                  12· · · asking what someone else thought.
13· Q· ·So you don't know what a meta tag is?                  13· · · · · · · · · ·MR. JABE:· Bob --
14· A· ·I know it's something that identifies you on the       14· · · · · · · · · ·MR. BRADENBURG:· You're asking her --
15· · · website.                                               15· · · · · · · · · ·MR. JABE:· I understand, but it's a
16· Q· ·You never told Z Tech in your 2011 letters that        16· · · speaking objection.· You can object and I note your
17· · · Ziebart objected to Z Tech's use of meta tags; is      17· · · objection.
18· · · that right?                                            18· · · · · · · · · ·MR. BRADENBURG:· That's what I said,
19· A· ·Correct.                                               19· · · then you started talking to me, so I started talking
20· Q· ·Why not?                                               20· · · back.· All I said was, it's asking what someone
21· A· ·I didn't know what they were.· I never -- I -- I       21· · · else --
22· · · didn't know what they were.· That wasn't until         22· · · · · · · · · ·MR. JABE:· I didn't start talking back
23· · · counsel drafted the Complaint.                         23· · · to you.· I asked a question and you started
24· · · · · · · · · ·MR. BRADENBURG:· You don't want to go     24· · · providing a --
25· · · into discussions with counsel.· So the answer is       25· · · · · · · · · ·MR. BRADENBURG:· I think your record
                                                     Page 48                                                        Page 49
·1· · · would indicate you started talking to me, but be       ·1· · · What was different?
·2· · · that as it may.                                        ·2· · · · · · · · · ·MR. BRADENBURG:· There's all kinds of
·3· BY MR. JABE:                                               ·3· · · assumptions in that.
·4· Q· ·Let me restate the question.                           ·4· BY MR. JABE:
·5· · · · · · · · · ·If Z Tech thought the parts of its        ·5· Q· ·How was it discovered in 2015?
·6· · · website it was supposed to change were the parts you   ·6· · · · · · · · · ·MR. BRADENBURG:· If you can answer
·7· · · specifically mentioned in your letters, wouldn't       ·7· · · that without discussions with counsel, you may do
·8· · · that be reasonable of Z Tech?                          ·8· · · so.· If your knowledge of how it was discovered
·9· A· ·I don't know.                                          ·9· · · relies upon communications with counsel, I'd
10· Q· ·Why don't you know?                                    10· · · instruct you not to answer.
11· A· ·I don't know what they know about computers and        11· BY MR. JABE:
12· · · how -- who their computer person is and what he        12· Q· ·Did you have assistance of counsel in checking the
13· · · would have removed.· I don't know if --                13· · · website?· Who -- who did that?· Who checked the
14· Q· ·I'd like to understand why the meta tags were          14· · · website in 2015 to make that determination of what
15· · · discovered prior to this case, but not in 2011 when    15· · · terms were there?
16· · · you were writing the letters.· Can you explain that?   16· · · · · · · · · ·MR. BRADENBURG:· If you can answer
17· · · · · · · · · ·MR. BRADENBURG:· I think it's been        17· · · that based upon your own knowledge, you may do so.
18· · · asked and answered, but you may answer.                18· · · If it involves communications with counsel, I'd
19· BY MR. JABE:                                               19· · · instruct you not to answer.
20· Q· ·I understand that in 2011 you didn't know what meta    20· · · · · · · · · ·THE WITNESS:· I can't answer without
21· · · tags were; is that right?                              21· · · counsel --
22· A· ·(Shook head in an affirmative manner.)                 22· BY MR. JABE:
23· Q· ·You didn't think to look for them; is that right?      23· Q· ·You can't tell me how it was discovered?
24· A· ·Yes.                                                   24· · · · · · · · · ·MR. BRADENBURG:· I'd instruct her not
25· Q· ·What was different in 2014 or 2015, I should say?      25· · · to answer.· She just said it was based on


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·1· · · communications with counsel.                           ·1· Q· ·And then in 2015, others may have been involved,
·2· · · · · · · · · ·MR. JABE:· Okay.                          ·2· · · counsel and others, it was discovered; is that
·3· · · · · · · · · ·MR. BRADENBURG:· Let me interject         ·3· · · correct?· It wasn't just you in 2015?
·4· · · here.· We're in phase one, which is a very limited     ·4· · · · · · · · · ·MR. BRADENBURG:· You're asking a
·5· · · area of discovery, that is discovery related to        ·5· · · factual question, it was discovered in 2014?
·6· · · contract interpretation, agreements from the 1996      ·6· · · · · · · · · ·MR. JABE:· '14.· Okay.
·7· · · and 2001 litigation settlement, and pleadings in the   ·7· · · · · · · · · ·MR. BRADENBURG:· So that's a "yes" or
·8· · · 2001 litigation and discovery related to when the      ·8· · · "no" answer.
·9· · · parties knew or should have known of the asserted      ·9· BY MR. JABE:
10· · · claims.· I'm not sure how your discovery is related    10· Q· ·I'm sorry, I don't know if I covered that.
11· · · to those topics.                                       11· · · · · · · · · ·When was the use of the meta tags
12· · · · · · · · · ·MR. JABE:· It is.                         12· · · discovered?· Because I thought it was 2015, because
13· · · · · · · · · ·MR. BRADENBURG:· Okay.                    13· · · that's the first time Mr. Brandenburg mentioned it
14· · · · · · · · · ·MR. JABE:· Plus I'm almost finished,      14· · · to me.· So if it was before that, I'm interested to
15· · · but --                                                 15· · · know that.· When was that?
16· · · · · · · · · ·MR. BRADENBURG:· I've been giving you     16· · · · · · · · · ·MR. BRADENBURG:· Hold on.· There's
17· · · some latitude, but I don't see it.· But if you're      17· · · attorneys all over at that point, so I'm trying to
18· · · almost finished, we'll carry through.                  18· · · figure out where we are.
19· BY MR. JABE:                                               19· · · · · · · · · ·What's the question right now?
20· Q· ·Well, I would like to understand how or why the meta   20· BY MR. JABE:
21· · · tags were discovered in 2015 but not before. I         21· Q· ·The question is:· When did Ziebart discover that the
22· · · understand part of that, I think, which is that you    22· · · word "Ziebart" was in meta tags on Z Tech's website?
23· · · weren't aware of them and didn't know what they were   23· · · · · · · · · ·MR. BRADENBURG:· I'm going to instruct
24· · · in 2011.· Is that part correct?                        24· · · her not to answer to the extent it involves
25· A· ·Yes.                                                   25· · · communications with counsel.
                                                     Page 52                                                        Page 53
·1· · · · · · · · · ·If you want to ask her when she found     ·1· ·knowing of the situation, things she got from
·2· · · out, that's a different question.                      ·2· ·counsel.· Can you sharpen that a little bit or -- to
·3· BY MR. JABE:                                               ·3· ·the extent you can answer that without referring to
·4· Q· ·When did you find out?                                 ·4· ·counsel as -- you can answer that, but if it
·5· A· ·I don't know if it was 2014 or 2015.· Some time        ·5· ·involves the involvement of counsel, I'd instruct
·6· · · between 2014 and 2015.                                 ·6· ·you not to answer.
·7· Q· ·You didn't personally discover it --                   ·7· · · · · · · · THE WITNESS:· Can you repeat the
·8· A· ·Correct.                                               ·8· ·question?
·9· Q· ·-- by searching on the website?                        ·9· · · · · · · · MR. JABE:· Sure.· What was the last
10· A· ·Correct.                                               10· ·question pending?
11· Q· ·You had assistance of some kind?                       11· · · · · · · · (The indicated portion of the record
12· A· ·Correct.                                               12· ·was read back as follows:
13· Q· ·Why did you have assistance then, but not in 2011?     13· · · · · · · · "Q· · So even though you had the
14· A· ·Well, we did in 2011.· We had attorneys involved.      14· ·assistance of attorneys involved in 2011, the meta
15· Q· ·So --                                                  15· ·tags were not discovered?")
16· A· ·Maybe not initially when I sent the first letter,      16· · · · · · · · MR. BRADENBURG:· And that's assuming
17· · · but shortly thereafter.                                17· ·some facts in (sic) evidence.
18· Q· ·So even though you had the assistance of attorneys     18· · · · · · · · MR. JABE:· All of these are speaking
19· · · involved in 2011, the meta tags were not discovered?   19· ·objections, you're aware of that.
20· · · · · · · · · ·MR. BRADENBURG:· Hold on.· You can ask    20· · · · · · · · MR. BRADENBURG:· No, it's assuming --
21· · · her what her knowledge is.· You're asking more         21· ·you're assuming they weren't discovered at that
22· · · generally when things occurred or how they occurred,   22· ·time.
23· · · and there were attorneys all over in that time.· And   23· · · · · · · · MR. JABE:· The word is "objection."
24· · · so I'm trying to let you get the information you're    24· · · · · · · · MR. BRADENBURG:· Yes.
25· · · entitled to, but I think you're asking, based on my    25· · · · · · · · MR. JABE:· And then you say "As to

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·1· ·form."                                                  ·1· · · witness not to answer a number of questions because
·2· · · · · · · · MR. BRADENBURG:· Well, there's a           ·2· · · of privilege concerns, which I appreciate, and
·3· ·predication.· You're asking why they weren't            ·3· · · there's nothing I can actually do about that under
·4· ·discovered there.                                       ·4· · · these circumstances.
·5· · · · · · · · MR. JABE:· I appreciate --                 ·5· · · · · · · · · ·So I will move on and I have only a
·6· · · · · · · · MR. BRADENBURG:· The question is were      ·6· · · few questions remaining relating to the things we
·7· ·they discovered at that time or not; and then you       ·7· · · were just discussing, and hopefully framed in a way
·8· ·can ask why they weren't.                               ·8· · · that doesn't come even close to implicating
·9· · · · · · · · MR. JABE:· I think I tried that and it     ·9· · · privilege issues.
10· ·got derailed --                                         10· BY MR. JABE:
11· · · · · · · · MR. BRADENBURG:· I think it --             11· Q· ·In 2011, did anyone make an effort to determine
12· · · · · · · · MR. JABE:· -- by a bunch of other          12· · · whether Z Tech was using Ziebart's name and meta
13· ·objections.                                             13· · · tags?
14· · · · · · · · MR. BRADENBURG:· Yeah, and I think it      14· · · · · · · · · ·MR. BRADENBURG:· To the extent you can
15· ·will get derailed this time too, but you're making      15· · · answer that question based upon information not
16· ·an assumption that has no predicate.                    16· · · provided by counsel, you may do so.· Otherwise I'm
17· · · · · · · · MR. JABE:· Let's take a break for a        17· · · instructing you not to answer.
18· ·minute.                                                 18· · · · · · · · · ·THE WITNESS:· I don't know.
19· · · · · · · · (Off the record at 2:19 p.m.)              19· BY MR. JABE:
20· · · · · · · · (Back on the record at 2:32 p.m.)          20· Q· ·In 2014, Ziebart did make an effort to determine
21· · · · · · · · MR. JABE:· So, for the record, I do        21· · · whether Z Tech was using Ziebart's name in meta
22· ·not agree with Mr. Brandenburg's invocation of the      22· · · tags, right?
23· ·privilege in all of the circumstances where he has      23· · · · · · · · · ·MR. BRADENBURG:· Again, to the extent
24· ·done so.· But I think we can take that up at another    24· · · you can answer that question based upon your
25· ·time if necessary.· I understand he's instructed the    25· · · knowledge, you may do so.· To the extent it is based
                                                   Page 56                                                            Page 57
                                                             ·1· · · · · · · · · · CERTIFICATE OF NOTARY
·1· ·upon communications with counsel, I'd instruct you
                                                             ·2· · · STATE OF MICHIGAN· )
·2· ·not to answer.
                                                             · · · · · · · · · · · · · ·) SS
·3· · · · · · · · THE WITNESS:· It's based on                ·3· · · COUNTY OF GENESEE· )
·4· ·discussions with counsel.· I can't answer.              ·4· · · · · · · · I, Quentina Rochelle Snowden, a Notary
·5· · · · · · · · MR. BRADENBURG:· I'd instruct her not      ·5· · · Public in and for the above county and state, do
·6· ·to answer.                                              ·6· · · hereby certify that the above deposition was
·7· · · · · · · · MR. JABE:· I have no further               ·7· · · taken before me at the time and place
·8· ·questions.                                              ·8· · · hereinbefore set forth; that the witness was by

·9· · · · · · · · MR. BRADENBURG:· I have no questions.      ·9· · · me first duly sworn to testify to the truth, and
                                                             10· · · nothing but the truth; that the foregoing
10· · · · · · · · MR. HOOKER:· I have no questions.
                                                             11· · · questions asked and answers made by the witness
11· · · · · · · · (The deposition of Patricia Lipsky
                                                             12· · · were duly recorded by me stenographically and
12· ·concluded at or about the hour of 2:34 p.m.)            13· · · reduced to computer transcription; that this is a
13                                                           14· · · true, full and correct transcript of my
14                                                           15· · · stenographic notes so taken; and that I am not
15                                                           16· · · related to, nor of counsel to either party nor
16                                                           17· · · interested in the event of this cause.
17                                                           18
                                                             19· ·Dated:· May 31, 2016
18
                                                             20
19
                                                             21· · · · · · · · · · · · ·___________________________
20                                                           · · · · · · · · · · · · · ·Quentina Rochelle Snowden
21                                                           22· · · · · · · · · · · · ·CSR-5519, Notary Public
22                                                           · · · · · · · · · · · · · ·Genesee County, Michigan
23                                                           23· · · · · ·My Commission expires:· 1-04-18
24                                                           24
25                                                           25



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